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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION


MICHAEL MARANDA,
                          Plaintiff, COMPLAINT

      -against-                   Case           No.:


HASH DEPLOY, INC. and
DOUGLAS SHOOK,

                          Defendant.



      Plaintiff, Michael Maranda, by and through his attorneys, E. Stewart Jones

Hacker Murphy, LLP, as and for this complaint against defendants alleges as follows:

                                INTRODUCTION

1. This is a breach of contract and fraud action wherein plaintiff paid for, but

defendants failed to deliver, computer equipment costing $220,000.00. To date,

Defendants still have not delivered the goods or refunded plaintiffs purchase money

despite due demand.

                         JURISDICTION AND VENUE

2. This Court has jurisdiction overthis matter pursuant to 28 U.S.C. § 1332 as the

parties are diverse, with the plaintiff domiciled in the State of New York and the

defendant Hash Deploy, Inc. incorporated and existing under the laws of the State of

Florida with its headquarters in the County of Marion, State of Florida and the

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defendant Douglas Shook domiciled in the State of Florida. The amount in

controversy exceeds $75,000.00.


3. Venue is proper within the Middle District of Florida pursuant to 28 U.S.C. §

1391(b)(l) and (2) as the transactions and occurrences took place in the Middle

District of Florida and the Defendants are located in the Middle District of Florida.

                                         PARTIES

4. Michael Maranda is an individual domiciled in the County of Suffolk of the

State of New York.

5. Upon information and belief, Hash Deploy, Inc. is a business corporation

existing under the laws of the State of Florida with its headquarters located at 13075

NE 251st Terrace Salt Spring, Florida 32134, located in Marion County.

6. Upon information and belief, Douglas Shook is an individual domiciled in the

State of Florida residing at 13075 NE 251st Terrace Salt Spring, Florida 32134.

7. Upon information and belief, Douglas Shook is the sole officer and shareholder

of Hash Deploy, Inc.

8. Upon information and belief, Douglas Shook through Hash Deploy, Inc.

purports to distribute and sell bitcoin mining computer equipment to the public.

9. Upon information and belief, Douglas Shook comingles his personal finances

with his business entity, using the same for his own personal use and benefit.
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10. Upon information and belief, Douglas Shook regularly transfers money and

property out of his business entity rendering it insolvent and undercapitalized.

11. Upon information and belief, Douglas Shook completely dominates and

controls Hash Deploy, Inc. and uses it to defraud his customers and hinder creditors,

such as the plaintiff herein.

12. Upon information and belief Douglas Shook regularly fails to observe business

formalities regarding his management and operation of Hash Deploy, Inc.

13. Upon information and belief, Douglas Shook has used Hash Deploy, Inc. as a

vehicle to commit fraudulent and wrongful acts against plaintiff and other members of

the public.

14. As such, Hash Deploy, Inc. is the alter ego of Douglas Shook and he is

personally liable for Hash Deploy, Inc. 9s debt herein under a veil piercing theory.

                                     BACKGROUND

15. On or around May 11,2018, the parties entered into and executed a contract for

the purchase and sale of one hundred Bitcoin mining computers known as "S 17

Antminers".


16. A copy of the contract is annexed hereto as Exhibit "A" (the "Contract").

17. Plaintiff agreed to pay Hash Deploy, Inc. $220,000 in Bitcoins for said 100 S 17

Antminers.


18. Plaintiff preformed its obligations per the Contract.
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19. On May 11,2019, plaintiff transferred $220,000 worth ofBitcoin to defendants

in payment on the Contract for the S 17 Antminers.

20. Pursuant to the Contract, Hash Deploy, Inc. was to deliver, and plaintiff was to

receive said 100 S 17 Antminers within 15 days of June 5,2019 or be entitled to a full

refund.


21. Pursuant to the Contract, the S 17 Antminers were to be delivered to Michael

Maranda at his business address of 2 Flint Mine Road, Coxsackie, NY 12051.

22. To date, plaintiff has not received said 100 S 17 Antminers from defendants.

23. Plaintiff has demanded a full refund of the $220,000 paid to defendants for said

S 17 Antminers,

24. Defendants have failed to refund said purchase money.

25. Plaintiff was going to use said S 17 Antminers to earn profit by mining Bitcoins.

26. Plaintiff lost profits as a result of defendants9 failure to perform under the

Contract.


27. Plaintiff has further been damaged as the cost of S 17 Antminers has increased

by approximately $ 150,000.00 since the time of the Contract and the plaintiffs cost to

"cover" said purchase is significantly higher than the Contract price.

                       COUNT 1 (Breach of Contract)

28. Plaintiff re-alleges and repeats each and every allegation contained in

paragraphs above with full force and effect as contained herein.
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29. The parties entered into a binding contract.

30. The plaintiff performed its obligations under the Contract by transferring

$220,000 to the defendant for the 100 S 17 Antminers.

31. Defendants breached the Contract by failing to deliver the 100 S 17 Antminers

and/or in failing to refund the purchase price upon demand.

32. As a result of the breach, plaintiff is entitled to $220,000, plus interest from and

after May 11,2019.

33. Due to the Hash Deploy, Inc. 's breach of the Contract, Plaintiff suffered actual,

and consequential damages in the amount of $580,000.

                                 COUNT 2 fFraud)

36. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

above paragraphs as if repeated and set forth at length in this cause of action.

37. That defendant Shook used Hash Deploy, Inc. to commit fraud as against

plaintiff.

3 8. That defendant Shook used Hash Deploy, Inc.9 s seemingly legitimate facade to

induce plaintiff into entering into the Contract which Defendants knew they would not

and could not perform.


39. That at all times defendant Shook intended to cause Hash Deploy, Inc. to

breach the Contract and never intended to perform on said Contract.
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40. That defendant Shook accepted plaintiffs $220,000 by and through Hash

Deploy, Inc. intending on keeping said purchase money for his own personal use

without delivering the sold goods to plaintiff.

41. That as a result of Shock's fraud, plaintiff paid to Defendants $220,000 in

purchase money for the S 17 Antminers.

42. That defendant Shook, upon information and belief, transferred plaintiffs

funds out of Hash Deploy Inc.'s Bitcoin or bank account, all for the personal benefit

of Shook.

43. That Shook individually used his corporate entity to commit fraud on the

plaintiff with malice aforethought.

44. That as a result of the fraud and theft committed by Shook, he is individually

liable to plaintiff for $580,000 plus attorney's fees, plus punitive damages, and

interest at the legal rate from and after May 11, 2019.

                              COUNT 3 fConversion)

45. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

the above paragraphs as if repeated and set forth at length in this cause of action.

46. That plaintiff owns and is entitled to the exclusive possession and use of the 100

S 17 Antminers it purchased from Hash Deploy, Inc.

47. That defendant Shook used Hash Deploy, Inc. to convert the aforesaid S 17

Antminers and the Bitcoin used to purchase the same.
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48. That the purchase price was paid in a specific number ofbitcoins, sent to a

specific numbered account, worth a specific amount of money.


49. That defendant Shook has wrongfully retained the purchase funds and/or the

S 17 Antminers despite due demand from plaintiff for the return of said funds or

fulfillment of the Contract.

50. Defendant Shook committed the tort of conversion and as the owner and

managing officer of Hash Deploy, Inc., he is individually liable to the plaintiff in the

amount of $220,000, plus attorney's fees, punitive damages and interest.

                               COUNT 4 OJCC §2-711)

51. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

the above paragraphs as if repeated and set forth at length in this cause of action.

52. Pursuant to UCC § 2-711 when the seller fails to make delivery of goods, the

purchaser is entitled to the return of the purchase price actually paid.

53. Plaintiff is entitled to the return of the purchase price of $220,000 per UCC § 2-

711.

                               COUNT 5 OJCC §2-713)

54. That plaintiff is also entitled to damages pursuant to UCC § 2-713 for the

difference in the market price at the time qf the Contract versus the current market

price.
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5 5. Upon information and belief, 100 S 17 Antminers now cost over $ 150,000 more

than when plaintiff contracted for the purchase of the S 17 Antminers herein.

56. That pursuant to UCC § 2-713 plaintiff is entitled to damages in the amount

equal to the difference in market value between the S 17 Antminers at the time of the

Contract and the current price to "cover" the purchase of new miners today.


                              COUNT 6 OJCC §2-715)

57. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

the above paragraphs as if repeated and set forth at length in this cause of action.

58. That pursuant to UCC § 2-715 plaintiff is entitled to incidental and

consequential damages as a result of defendants9 breach and failure to deliver the

goods as contracted in an amount to be determined by the finder of fact.

                              COUNT 7 OJCC §2-716)

59. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

the above paragraphs as if repeated and set forth at length in this cause of action.

60. That pursuant to UCC § 2-716 plaintiff is entitled to specific performance of

the Contract.


      WHEREFORE, plaintiff demands judgment against the defendants jointly and

severally as plead above in the amount of $580,000, plus interest, costs and attorney's

fees and exemplary and/or punitive damages along with an Order granting plaintiff

specific performance of the Contract, and such other legal and equitable relief as the
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Court deems just and proper.

DATED: September^) 2019                     E. STEWART JONES HACKER
                                                   MURPHY, LLP

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